   Case 2:21-cr-00530-BRM Document 23 Filed 02/04/22 Page 1 of 1 PageID: 40
DNJ-CR-023 Order Regarding Use of Video/Teleconferencing for Felony Proceedings (Rev. 10/2021)
_________________________________________________________________________________________________________________________

                   UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA         *
                                 *
    v.                           *       CRIM. NO. 21-530
                                 *
TAQUAN BRUNSON                   *
                                 *
                               *****
  ORDER REGARDING USE OF VIDEO CONFERENCING/TELECONFERENCING
               FOR FELONY PLEAS AND/OR SENTENCINGS
        In accordance with the operative COVID-19 standing orders, this Court finds:

   ✔      That the Defendant (or the Juvenile) has consented to the use of video

teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation

with counsel; and
   ✔
          That the proceeding(s) to be held today cannot be further delayed without serious harm

to the interests of justice, for the following specific reasons:
1. Ongoing COVID-19 pandemic; and
2. Consent of the Defendant and the Government.


Accordingly, the proceeding(s) held on this date may be conducted by:
   ✔
            Video Teleconferencing

            Teleconferencing, because video teleconferencing is not reasonably available for the

following reason:
                     The Defendant (or the Juvenile) is detained at a facility lacking video

         teleconferencing capability.

                     Other:




Date:          February 4, 2022
                                                                        Honorable Brian Martinotti
                                                                        United States District Judge
